                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                             Plaintiff,

       v.
                                                                  Case No. 19-CR-182

TOMMY LEE JENKINS,

                             Defendant.


                    ORDER FOR COMPETENCY EXAMINATION


       Upon consideration of defense counsel’s motion to determine the defendant’s

competency (Docket # 10), the court having found that there is reasonable cause to believe

that the defendant presently is suffering from a mental disease or defect rendering him

mentally incompetent to the extent that he is unable to understand the nature and

consequences of the proceedings against him or to assist properly in his defense, and given

that the defendant is incarcerated in the Brown County Jail,

       IT IS HEREBY ORDERED, pursuant to 18 U.S.C. § 4241(b), that licensed

psychologist Melissa J. Westendorf J.D./Ph.D. shall perform an examination of the

defendant to determine his mental competency. Dr. Westendorf shall visit the defendant at

his place of incarceration, and shall have access to his institutional and treatment records.

       IT IS FURTHER ORDERED that Dr. Westendorf shall file a report on the

defendant’s competency pursuant to 18 U.S.C. § 4241(b) and 18 U.S.C. §§ 4247(b) and (c).




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Dated at Milwaukee, Wisconsin this 12th day of December, 2019.

                                        BY THE COURT:

                                        s/Nancy Joseph ____________
                                        NANCY JOSEPH
                                        United States Magistrate Judge




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